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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF MISSOURI
                                       EASTERN DIVISION

DAN CREPPS,                                                 )
individually and on behalf of all others                    )
similarly situated,                                         )
                                                            )
         Plaintiffs,                                        )
                                                            )
v.                                                          )    No. 4:19-cv-02554-RLW
                                                            )
CONOPCO, INC., d/b/a “UNILEVER,”                            )
DOES 1 through 10,                                          )
                                                            )
         Defendants.                                        )

        DEFENDANT’S MOTION TO TRANSFER AND COORDINATE PRE-TRIAL
                             PROCEEDINGS

         Pursuant to Local Rule 42–4.03, Defendant Conopco, Inc., d/b/a “Unilever,” (“Unilever”)

hereby moves to transfer and coordinate proceedings in this and seven other putative class

actions currently pending in this District that are substantially similar to this case.

         As detailed in the supporting memorandum, all eight cases were filed within a two-week

period by the same lawyer on behalf of three individual Plaintiffs, with complaints that are

essentially copies of each other. For the sake of efficiency, consistency of ruling, and avoidance of

unnecessary duplication of effort by the various judges assigned these cases, they should be

transferred to the judge with the lowest numbered case for coordinated pretrial proceedings.1 In

compliance with Local Rule 42–4.03, a Notice of this Motion and copies of the supporting papers

are being filed in the subject cases. Plaintiffs’ counsel consents to the transfer of these actions to this


1
  Two of the eight cases are currently pending in this Court. While Carla Been v. Conopco, Inc., d/b/a “Unilever,”
et al., No. 4:19-cv-02704-RLW (E.D. Mo.) (“Been II”) does not need to be transferred, Unilever requests that it be
coordinated with the other cases, and has therefore included it as part of this motion. There was a lower numbered
case pending, Dan Crepps v. Conopco, Inc., d/b/a “Unilever,” et al., No. 4:19-cv-02553-CDP (E.D. Mo.) (Judge
Perry) (“Crepps I”), but that case was voluntarily dismissed on October 19, 2019, one day after Unilever proposed
this motion to transfer to Plaintiffs’ counsel. See No. 4:19-cv-02553-CDP, Dkt. 11.
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Court.

         WHEREFORE, Defendant Unilever respectfully moves for an order transferring the

following cases to Judge White to be coordinated with this matter for pre-trial purposes only,

pursuant to Federal Rule of Civil Procedure 42(a) and Local Rule 42–4.03:

            Dan Crepps v. Conopco, Inc., d/b/a “Unilever,” et al., No. 4:19-cv-02723-
             AGF (E.D. Mo.) (Judge Fleissig) (“Crepps III”);
            Jamie Richards v. Conopco, Inc., d/b/a “Unilever,” et al., No. 4:19-cv-02556-
             HEA (E.D. Mo.) (Judge Autrey) (“Richards I”);
            Jamie Richards v. Conopco, Inc., d/b/a “Unilever,” et al., No. 4:19-cv-02558-
             SRC (E.D. Mo.) (Judge Clark) (“Richards II”);
            Jamie Richards v. Conopco, Inc., d/b/a “Unilever,” et al., No. 4:19-cv-02726-
             AGF (E.D. Mo.) (Judge Fleissig) (“Richards III”);
            Jamie Richards v. Conopco, Inc., d/b/a “Unilever,” et al., No. 4:19-cv-02728-
             SRC (E.D. Mo.) (Judge Clark) (“Richards IV”); and
            Carla Been v. Conopco, Inc., d/b/a “Unilever,” et al., No. 4:19-cv-02703-
             SRC (E.D. Mo.) (Judge Clark) (“Been I”); and

coordinating Carla Been v. Conopco, Inc., d/b/a “Unilever,” et al., No. 4:19-cv-02704-RLW

(E.D. Mo.) (Judge White) (“Been II”) with this matter for pre-trial purposes only.


Dated: October 22, 2019                         Respectfully submitted,

                                                SHOOK, HARDY & BACON L.L.P.

                                                By: /s/ James P. Muehlberger
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                               CERTIFICATE OF SERVICE

       I hereby certify that on October 22, 2019, the foregoing document was served upon the
following via the Court’s electronic filing system:

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                                                   /s/ James P. Muehlberger




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